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               UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION

JAVALE DAVIS,

      Plaintiff,

v.                                                 Case No. 3:18-cv-1382-LC-MJF

RANDALL BRYANT, et al.,

      Defendants.
                                            /

                                     ORDER

      This cause comes on for consideration of the Magistrate Judge’s Report and

Recommendation dated September 25, 2020 (doc. 65). The parties have been

furnished a copy of the Report and Recommendation and have been afforded an

opportunity to file objections pursuant to Title 28, United States Code, Section

636(b)(1). No objections have been filed.

      Having reviewed the Report and Recommendation, I have determined that it

should be adopted.

      Accordingly, it is now ORDERED as follows:

      1.     The Magistrate Judge’s Report and Recommendation (ECF No. 65) is

adopted and incorporated by reference in this order.

      2.     Defendants’ motion for summary judgment (Doc. 63) is GRANTED.

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3.   The clerk of the court shall enter judgment accordingly and close this

     case file.

DONE AND ORDERED this 27th day of October, 2020.


                          s/L.A. Collier
                     LACEY A. COLLIER
             SENIOR UNITED STATES DISTRICT JUDGE




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